                        Case 3:04-cr-00351-ADC                 Document 195         Filed 09/20/05          Page 1 of 5
qAO 2458         (Rev.06/05)Judgmentin a CriminalCase
                 SheetI



                                         UNTTpDSTATESDISTRICTCOUNT
                          FOR THE                                District of                           PUERTORICO
             UMTED STATESOF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                               v.
           RAMON GERMOSEN
  , aMaRAMON GERMOSEN-FIGUEROA                                          CaseNumber:                    04-3s1(SEC)
       a/k/a"Chucho":aMa "Monsito"                                      USMNumber:                     18

                                                                        IGNACIO RTVERA-CORDERO
                                                                        Defendant's
                                                                                  Attomey
THE DEFENDAIT{T:
X pleadedguilty to count(s)         ONE (1) andTHREE(3)
                       to count(s)
Epleaded nolo contendere
       which was acceptedby the court.

E wasfound guilty on count(s)
  aftera pleaof not guilty.

The defendantis adjudicatedguilty oftheseoffenses:

Title & Section                   Naturep.f 9ffensq                                                    OffenseEnded        Count
18:1956(a)(l)(sxl)                A/A/ IN THE LAUNDERINGOF MONETARY                                     MAY 2003             I
                                  INSTRUMENTS.A CLASS"C'' FELONY.
l8:982                            MONEY LAUNDERING. CRIMINAL FOP"FEITI.IRE                              MAY 2003             3



'ltt                               asprovidedin pages2 through
           The defendantis sentenced                                                 of thisjudgment.The sentence
                                                                                                                is imposedpursuantto
the SentencingReform Act of 1984.

! ttre defendant has been found not guilty on count(s)

I Coun(s)                                               E is     !   are dismissedon themotionof theUnitedStates.

         It is orderedthatthedefendant    mustnotifutheUnitedStatesattomeyfor thisdistrictwithin 30 daysof anychangeof name,residence,
or mailineaddress  until all fures.restitution,costs,andspecialassessments    d by thisjudgmentarefully paid. If orderedto payrestitution,
                                                                       irnirose
the deferidant  mustnotifu the courtandUnited Statesattorneyof materialchangesin economiccircumstances.

                                                                        9t20105
                                                                        Dateof Impositionof Judgment


                                                                        S/ Salvador E. Casellas
                                                                        Signatureof Judge




                                                                        SALVADORE. CASELLAS.U.S. DISTRICTJUDGE
 i' 1                                                                   NameandTitle of Judge
tlr,.



                                                                        o/tnln{
                                                                        Date
                       Case 3:04-cr-00351-ADC                Document 195            Filed 09/20/05        Page 2 of 5
AO2458      (Rev.06/05)Judgmentin CriminalCase
            Sheet2 - IrnDrisonment
                                                                                                     Judgmart-Paee -2-     of   --J-
DEFENDANT:                    RAMON GERMOSEN
CASENUMBER:                   04-CR-351(18XSEC)


                                                             IMPRISONMENT

            The defendant is hereby committed to the custody of the United StatesBweau of Prisons to be imprisoned for a
total term of:


                                                      TWENTY FOUR (24) MONTHS.



       n                                           to theBureauof Prisons:
             Thecourtmakesthefollowingrecommendations




       X     The defendant is remanded to the custody of the United StatesMarshal.

       tr    The defendant shall surrender to the United States Marshal for this district:

             !    a                              fl   a.m.     I   p.*      on

'!.:         !        asnotifiedby theUnited StatesMarshal.

       I     The defendantshall sunenderfor serviceof sentenceat the institution designatedby the Bureauof Prisons:

             I        before2 p.m.

             tr       asnotified by the United StatesMarshal.

             tr       asnotifiedby theProbationor PretrialServicesOffice.


                                                                   RETURN
I haveexecutedthisjudgmentasfollows:




             Defendant delivered

at                                                    with a certified copy of this judgment.




                                                                                                   UNITED STATESMARSHAL


                                                                          By
                                                                                                DEPUTYLNITED STATESMARSIIAL
                           Case 3:04-cr-00351-ADC                 Document 195             Filed 09/20/05          Page 3 of 5
AO 2458.         (Rev.06/05)Judgmentin a CriminalCase
                 Sheet3 -      ised Release
                                                                                                              Judgment-Page -i-         of -t-

DEFENDANT:  RAMONGERMOSEN
CASENUMBER: 04-CR-3s1(lSXSEC)
                           SUPERVISED RELEASE
                                                             releasefor a termof :
                            the defendantshallbe on supervised
Uponreleasefrom inrprisonment,

,'                                                               THREE (3) YEARS


        The defendantmustreport to the probationoffice in the district to which the defendantis releasedwithin T2hotxs of releasefrom the
 custodyofthe BureauofPrisons.
 The defendantshallnot commit anotherfederal,stateor local crime.
 The defendantshall not unlawfully possessa contolled substanc,e.       The defendantshall refrain from any*tlu*fuI useof a contolled
 fitd;;;:     Til;;ffia;rt    rhitlliiuf,tit tJiltd*gGatwithin     15 daysof releasefrom imprisonrnentanil at leasttwo periodic drug tests
 thereafter,asdeterminedby the court.
 n      The abovedrug testingcondition is suspended,      basedon the court's determinationthat the defendantposesa low risk of
  :     futuresubstance    abuse.(Check,if applicable.)
 k      The defendantshallnot possess       a firearnl ammunitiorqdestructivedevice,or anyotherdangerous  weapon.(Check,if applicable.)

 X           The defendantshallcooperatein the collectionof DNA asdirectedby theprobationofficer. (Check,if applicable')
 tr          The defendantshall registerwith the statesexoffenderregistation agencyin the statewherethe defendantresides,works, or is a
 .,          student,asdirectedby theprobationofftcer. (Check,if applicable')
 il   The defendantshallparticipatein an approvedprogSam       for domesticviolence.(Check,if applicable.)
      If this iudementimposesa fure or restitutiorl it is a conditionof supervisedreleasethat the defendantpay in accordancewith the
 Scheduleof Palrrnents slieetof thisjudgment.
      The defendantmustcomplywith the standardconditionsthat havebeenadoptedby this court aswell aswith any additionalconditions
 on the atlachedpage.

                                           STANDARD CONDITIONS OF SUPERVISION
       1)     the defendantshall not leavethejudicial distict without the permissionof the court or probationofficer;
       2)'    thedefendantshall report to the probationofficer andshall submita truthful and completewritten report within the frst five daysof
              eachmonth:
       3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4) the defendant shall support his or her dependents and meet other family responsibilities;
  '5)
      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, taining, or other
              acceptablereasons;
       6)     the defendant shall notifi the probation officer at least ten days prior to any change in residence or employment;
  r7\         the defendantshall refrain from excessiveuse of alcohol and shall not purchase,possess,use, distrib-ute,or administet any
 1,....'
              controlled substanceor any paraphernaliarelated to any controlled substances,except as prescnbed by a pnyslcnn;
       8)     the defendantshall not frequent places where contolled substancesare illegally sol4 used, distributed, or administered;
       e)     the defendant shall not associate with.any persgns engaged in criminal activity and shall not associate with any person convicted of a
              felony, unlessgrantedpermission to do so by the probahon ottrcer;
      10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
               contaband observedin plain view of the probation officer;
      I l)    the defendant shall notiff the probation offrcer within seventy-two hours of being arrested or questioned by a law enforcement offiicer;
      12\     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
              pirmission of the court; and
      13)
      '"'      as directedbv the probation offrcer, the defendantshall notiff third partiesof risks that may be occasionedby the defendant'scriminal
               ;;";"i;-r;'^;rf'hffit-oi6traihii"ristiii-inainatt        penirit the probation officer to make such notifications and to confirm the
               defendant'scompliance with such notification requirement'
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AO 2458   (Rev.06/05)Judgmentin a CriminalCase
          Sheet3A - SupervisedRelease
                                                                                  Judgment-Page L     of --5-
DEFENDANTI              RAMON GERMOSEN
CASENUMBER:             04-CR-351(18XSEC)

                                 ADDITIONAL      SUPERVISED RELEASE TERMS

 1. Thedefendantshallnot commitanotherFederal,state,or local crime,andshallobservethe standardconditions
             releaserecommended
 of supervised                  by theUnited StatesSentencing   Commissionandadoptedby this Court.

                                         controlledsubstances'
 2. Thedefendantshallnot unlawfullypossess

                                                                                       weapons.
                                           firearms,destructivedevices,andotherdangerous
 3. The defendantshallrefrainfrom possessing

4. The defendantshallrefrainfrom the unlawfuluseof controlledsubstances       andsubmitto a drugtestwithin
fifteen(15) daysof release;thereafter,submitto randomdrugtest,not to exceed104samplesper yearin
 I

accordance with the Drug AftercareProgramPolicyof theU.S.ProbationOffice approvedby this Court. If any
suchsamplesdetectsubstance   abuse,the defendantshatlparticipatein a drugtreatmentprogmm(in-patientor
out-patient)in accordancewith suchpolicy. The defendantis requiredto contributeto the costof services
rendered(co-palmrent) basedon the ability to pay or availabilityof third partypayments,asapprovedby the
 court.

5. If removed,the defendantshallremainoutsidetheUnitedStates,andall placessubjectto its jurisdictionunless
prior writtenpermissionto reenteris obtainedfrom thepertinentlegalauthoritiesandthe defendantnotifiesin
writing theprobationofficor of this Courtto that effect.


 6. Thedefendantshallsubmithis person,residence,      office or vehicleto a search,conductedby a U.S.Probation
,,Offi.", at a reasonabletime andin a reasonable  manner,baseduponreasonable     suspicionof contraband  or
 6Via"tt " of a violationof conditionof release;failureto submitto a searchmaybe groundsfor revocation;the
 defendantshallwarn anyotherresidentsthat thepremisesmay be subjectto searches        pursuantto this condition.

7. Thedefendantshallcooperatein the the collectionof a DNA sarnpleasdirectedby theU.S. ProbationOfficer,
pursuantto theRevisedDNA CollectionRequirements,    andTitle 18,U.S. Code3563(aX9).




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                     Case 3:04-cr-00351-ADC
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                                                                    Document 195                Filed 09/20/05    Page 5 of 5
AO 2458
           Sheet5 - Criminal MonetaryPenalties
                                                                                                          Judgment- Page JI-      of
DEFENDANT:                        RAMONGERMOSEN
CASENUMBER:                       04-cR-351(18XSEC)
                                        CRIMINAL MONETARY PENALTIES

      The defendantmustpay the total criminal monetarypenaltiesunderthe scheduleof paymentson Sheet6.

                    Assessment                                                 Fine                             Restitution
TOTALS            $ 100.00                                                 $ 0                                $ 0

;
tr    The determinationof restitutionis defeneduntil                       An AmendedJudgmentin a Criminal Case(AOz4sC) will be entered
      after suchdetermination.

 tr   The defendantmustmakerestitution(including communityrestitution)to the following payeesin the amountlistedbelow'

                                     payment,eachpayeeshallreceivean approximately
      If thedefendantmakesa partial^pa'yment                                      proportionedpavment.unlessspecifiedotherwisein
      itlJ-p-tionii"iaiioi ilrcbntagg      colunin6ilow. Howe'"er,puis'uantto 18ILS.C. $ 366afi),'allnonfederalvictimsmustbe paid
      bef6rethe'UnitedSt6tesis paid.-

 Name of Pavee                               Total Loss*                                RestitutionOrdered                Prioritv or Percentase




 TOTALS


 tr Restitutionamountorderedpursuantto plea agreement $
 tr The defendantmustpay intereston restitutionanda fine of morethan$2,500,unlessthe restitutionor fine is paid in full beforethe
       fifteenthdayafterthe dateof thejudgment,pursuantto 18U.S.C.$ 3612(0. All of thepaymentoptionson Sheet6 maybe subject
       to penaltiesfor delinquencyanddefault,pursuantto 18U.S.C.$ 3612(g).

 n The court determinedthat the defendantdoesnot havethe ability to pay interestandit is orderedthat:
       n   the interestrequirementis waived for the             !       fine   n      restitution.

       !   the interestrequirementfor the            n   fine       D     restitutionis modified asfollows:


 * Findingsfor thetotalamountof lossesarereqgiredunderChapters109A,110,110A,andI l3A of Title 18for offensescommittedon or after
 Septemb-er 13,1994,but beforeApril 23, 1996.
